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                               IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF TEXAS
                                        MARSHALL DIVISION

ENTRY SYSTEMS, LLC,                                §
    Plaintiff,                                     §
                                                   §
v.                                                 §      CIVIL ACTION NO. M-14-1090
                                                   §
MERCEDES-BENZ USA, LLC,                            §
    Defendant.                                     §

                                            DISMISSAL ORDER

           It is hereby ORDERED that the parties’ Stipulated Motion for Dismissal With

Prejudice [Doc. # 17] is GRANTED and this case is DISMISSED WITH

PREJUDICE, each party to bear its own costs, expenses, and attorneys’ fees.

           SIGNED at Houston, Texas, this 15th day of September, 2015.




                                                            NAN Y F. ATLAS
                                                   SENIOR UNI   STATES DISTRICT JUDGE




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